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                       IN THE UNITED STATES BANKRUPTCY COURT
                     FOR THE SOUTHERN DISTRICT OF WEST VIRGINIA

    In re:                                              )      Chapter 11
                                                        )
    Blackjewel, L.L.C., et al.,                         )      Case No. 19-bk-30289
                                                        )
                            Debtors. 1                  )      (Jointly Administered)


             Pursuant to the Mediation Order [ECF No. 2885], as revised by the Revised Mediation

[ECF No. 2907], entered in the above-captioned jointly administered bankruptcy cases, the

undersigned judicial settlement officer 2 reports to the Court as follows:

             1.    A mediation conference with (i) Blackjewel L.L.C. and its affiliated debtors and

debtors-in-possession (collectively the “Debtors”), and their counsel; (ii) United Bank and its

counsel; (iii) Jeffrey A. Hoops, Sr. and various entities affiliated with Mr. Hoops (collectively,

the “Hoops Parties”), and their counsel; (iv) the Official Committee of Unsecured Creditors (the

“Committee”) and its counsel; (v) counsel for the United States Department of Labor;

(vi) counsel for the United States Department of Interior; and (vii) counsel for the Kentucky

Energy and Environment Cabinet was conducted on February 12, 2021.

             2.    A further mediation conference with (i) the Debtors and their counsel; (ii) the

Hoops Parties and their counsel; (iii) the Committee and its counsel; (iv) counsel for the United

States Department of Labor; (v) counsel for the United States Department of Interior; and

(vi) counsel for the Kentucky Energy and Environment Cabinet was conducted on February 15,


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       The Debtors in these chapter 11 cases and the last four digits of each Debtor’s taxpayer identification
       number are as follows: Blackjewel, L.L.C. (0823); Blackjewel Holdings L.L.C. (4745); Revelation Energy
       Holdings, LLC (8795); Revelation Management Corporation (8908); Revelation Energy, LLC (4605);
       Dominion Coal Corporation (2957); Harold Keene Coal Co. LLC (6749); Vansant Coal Corporation (2785);
       Lone Mountain Processing, LLC (0457); Powell Mountain Energy, LLC (1024); and Cumberland River Coal
       LLC (2213). The headquarters for each of the Debtors is located at PO Box 1010, Scott Depot, WV 25560.
2
       By Order dated October 5, 2020 [ECF No. 2427], the undersigned was designated to serve as a judicial
       settlement officer in this case.
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2021. The foregoing parties did not reach a settlement and the mediation conference as to the

foregoing parties was concluded on February 15, 2021.

         3.       A further mediation conference with (i) the Debtors and their counsel; and

(ii) United Bank and its counsel was conducted on March 1, 2021. The parties did not reach a

settlement and the mediation conference was concluded on March 1, 2021.


Dated:        March 5, 2021                       /s/ Kevin R. Huennekens
                                               Kevin R. Huennekens
                                               United States Bankruptcy Judge and
                                               Judicial Settlement Officer




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